     Case 4:16-cr-00260-WTM-CLR Document 110 Filed 10/12/16 Page 1 of 1




                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION
UNITED STATES OF AMERICA,         )
                                                                      .$)   r)

                                  )
                                                                                 w J,
V.                                )                                              -S




                                  )                CR416-260     E:
ANTHONY POINTER,                  )



                                  )



     Defendant.                   )
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                                :1.) 00

     Defendant's motion for reconsideration of the Court's Order of

detention is DENIED.

     SO ORDERED, this /Otday of October, 2016.

                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
